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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

                                          )
Aaron Private Clinic Management           )
LLC,                                      )    Case No. 1:17-cv-01034-WSD
                                          )
Plaintiff,                                )
                                          )    Action for Violations of the
v.                                        )    Rehabilitation Act,
                                          )    29 U.S.C. § 701 et seq.
Frank W. Berry, in his Official           )    and the Americans with
Capacity as Commissioner of the           )    Disabilities Act
Georgia Department of Community           )    42 U.S.C. § 12101 et seq.
Health; and, Nathan Deal, in his          )
Official Capacity as Governor of          )
Georgia,                                  )
                                          )
Defendants.
________________________________

                             NOTICE OF APPEAL

      Notice is hereby given that Plaintiff Aaron Private Clinic Management

LLC (“Plaintiff”) hereby appeals to the United States Court of Appeals for the

Eleventh Circuit from the following Orders of this Court:

      1.     This Court’s November 17, 2017 Order granting Defendants’ Motion

to Dismiss and Judgment [Docs. 34 and 35].
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Respectfully submitted, this November 17, 2017

                              s/James A. Dunlap Jr.
                              James A. Dunlap Jr. & Assoc. LLC
                              Georgia State Bar No. 003280
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                              Counsel for Plaintiff




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                      CERTIFICATE OF COMPLIANCE

             Pursuant to Local Rule 7.1.D, I certify that the foregoing has been

prepared in 14-point Times New Roman type face, in compliance with Local Rule

5.1. See N.D. Ga. Civ. R. 5.1, 7.1.D.


             This November 17, 2017.

                                                    s/James A. Dunlap Jr.
                                                    James A. Dunlap Jr., Esq.
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                          CERTIFICATE OF SERVICE

      I certify that I have this day served the preceding pleading with the Clerk of
Court using the CM/ECF system which will automatically send email notification

of such filing to the following attorneys of record:

      Roger Chalmers, Esq.

      I further certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants: NONE.

      This November 17, 2017.

                                              s/James A. Dunlap Jr.
                                              James A. Dunlap Jr., Esq.




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